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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES



                                                                                    Food and Drug Administration
                                                                                    Silver Spring MD 20993




          NDA 020895
                                                                              INFORMATION REQUEST

          Pfizer, Inc.
          Attention: Marsa Hatfield
          Director, Worldwide Safety & Regulatory
          445 Eastern Point Road
          Groton, CT 06340


          Dear Ms. Hatfield:

          Please refer to your New Drug Application (NDA), submitted under section 505(b) of the
          Federal Food, Drug, and Cosmetic Act (FDCA) for VIAGRA® (sildenafil citrate) tablets.

          We have become aware of an increasing number of post-marketing reports of melanoma in
          association with the use of phosphodiesterase Type 5 inhibitors (PDE5i), including Viagra.
          Based on this information, we have begun a review of this matter under Tracked Safety Issue
          (TSI) #1579.

          In order to continue our review, we request the following information by July 15, 2016:

              Conduct a search of your clinical trial databases to identify all adverse event (AE) reports of
              melanoma in clinical trials of Viagra using all Preferred Terms (PT) under the High Level
              Term (HLT) Skin Melanomas; and all PT under the HLT Ocular Melanoma in MedDRA
              19.0 or in the MedDRA version used for each study. If different MedDRA terms were used
              in different studies, harmonize those terms to facilitate data interpretation.

              Using the cases identified, provide results from these analyses:

                  1. Compare melanoma incidence rates between drug and placebo, as well as between
                     drug and active comparator, when available. Provide 95% confidence intervals and
                     relative risk assessments.

                  2. Provide an assessment of melanoma incidence rates by dose, duration, and length of
                     time from Viagra exposure to AE report.

                  3. Compare melanoma incidence rates between daily use and ad lib (prn) use of Viagra.




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                  4. In studies with no control arm, compare melanoma incidence rates to
                     demographically-matched SEER melanoma incidence rates.

                  5. Identify cases in which more than one PDE5i was used by the same subject. Perform
                     analyses with these subjects included and excluded.

                  6. Identify cases in which baseline risk factors for melanoma were reported. Perform
                     analyses with these subjects included and excluded

                  7. Perform analyses 1 - 6 for the incidence of basal cell carcinoma identified as AEs in
                     clinical trials of Viagra.

              In addition, provide an overall evaluation of the data and conclusion about the risk of
              melanoma associated with use of Viagra.

          If you have any questions, call Meredith Alpert, MS, Safety Regulatory Project Manager, at
          (301) 796-1218.

                                        Sincerely,

                                        {See appended electronic signature page}

                                        Christine P. Nguyen, MD
                                        Deputy Director for Safety
                                        Division of Bone, Reproductive and Urologic Products
                                        Office of Drug Evaluation III
                                        Center for Drug Evaluation and Research




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     /s/
     ----------------------------------------------------
     MEREDITH ALPERT
     06/03/2016

     CHRISTINE P NGUYEN
     06/03/2016




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